Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 1 of 12



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                     CONSOLIDATED CASE NO. 13-61373-CIV-SCOLA

   DEBORAH ELDREDGE,

                 Plaintiff,

   v.

   EDCARE MANAGEMENT, INC., a Delaware
   corporation, and HOSPITAL PHYSICIAN
   PARTNERS, INC., a Delaware corporation,

              Defendants.
   _______________________________________/

            DEFENDANTS’ RENEWED MOTION FOR A SANCTIONS HEARING,
        BASED ON PLAINTIFF’S MASSIVE THEFT OF CONFIDENTIAL INFORMATION
        FROM DEFENDANTS, HER PLAN TO BLACKMAIL THEIR EXECUTIVES, AND
           HER CONCEALMENT OF THESE MATERIALS DURING DISCOVERY

           Defendants EDCare Management, Inc. (“EDCare”) and Hospital Physician

   Partners, Inc., pursuant to the inherent powers of this Court, Rule 37 of the Federal

   Rules of Civil Procedure, and the Order of this Court dated November 21, 2013,

   respectfully submit this renewed motion for sanctions against Plaintiff, including a

   request for an evidentiary hearing to consider the sanction of dismissal. This Court

   expressly provided an opportunity for certain discovery by Defendants into the Plaintiff’s

   belated admission that she retained documents from Defendants, which would enable

   Defendants to renew their sanctions motion. As it turns out, Plaintiff stole three boxes,

   two thumb drives, and a disc filled with massive amounts of confidential business

   information, financial statements, client lists, agreements with various employees,

   emails from various mailboxes, and many other materials that she had no legitimate

   purpose to possess, take, keep, or conceal during discovery. Quite telling is the belated
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 2 of 12



   production of some of Plaintiff’s emails from her personal email address, which not only

   undermine the merits of her claims, but also confirm her plan to stockpile information

   with which to try to blackmail the Defendants and their executives. In other words, this

   case is a fruit of her (criminal) misconduct.

          In support of this motion, Defendants incorporate by reference their original

   motion for sanctions (DE 31) and state as follows:

   Background

          1.     On November 21, 2013, this Court consolidated two actions that Plaintiff

   had filed separately. In one action, she claimed that she did not receive all required

   compensation upon termination, arguing in part that she was not actually serving as an

   exempt Executive Assistant because she just typed and answered the telephone. In the

   other action, she claimed that the simultaneous termination of her along with more than

   50 other employees did not constitute a reduction in force, and that notwithstanding that

   she had been paid approximately or more than twice the salary of the other Executive

   Assistants, her (at-will) employment status somehow protected her from being

   terminated with the others because she was allegedly more qualified than some

   employees who were not fired. With this inconsistency as a backdrop, the Court sua

   sponte consolidated these actions.

          2.     In the November 21st Order consolidating the cases, notwithstanding the

   close of discovery in the first-filed case, this Court explained it “will allow the Defendants

   to take the necessary discovery in light of the last-minute production of documents that

   were taken from the Defendants by the Plaintiff during her employment.” 11/21/13

   Order at 1. At the time, Defendants and the Court contemplated a deposition of Plaintiff



                                                   2
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 3 of 12



   concerning a box of Defendants’ documents that she had belatedly disclosed she took

   upon or before her termination. Plaintiff had failed to produce those documents when

   demanded by Defendants upon termination and failed to produce them during the

   period for discovery, right through summary judgment proceedings in the earlier-filed,

   now-consolidated FLSA action. Plaintiff did not acknowledge that she possessed such

   materials until after the Magistrate Judge issued an Order dated November 8, 2013,

   requiring a further production by Plaintiff in December 2013 arising from what she had

   led everyone to believe involved only a few pieces of company materials such as

   organization charts. That Order required that Plaintiff “shall conduct a diligent search

   for any other documents in her possession which are the property of the Defendants

   and turn them over to Defendants’ counsel.” 11/8/13 Order at 7. As it turned out,

   Plaintiff had misappropriated and failed to produce upon demand for the return of such

   information or at any time during discovery, three boxes, two thumb drives, and a disc

   consisting of highly confidential material, client lists, financials, agreements, emails from

   various employees’ mailboxes, a copy of the CEO’s laptop and business notebook

   (which could only have been removed by theft because Plaintiff did not work directly for

   that CEO), and other sensitive records, none of which had been provided to Defendants

   in time for summary judgment briefing, which had concluded months earlier. At her

   deposition, she could offer no business reason for having those three boxes, two thumb

   drives, and disc, let alone for keeping and concealing such records during discovery.

          3.     Even before the revelation of this tremendous volume of stolen, sensitive

   material, the November 21st Order specifically invited a renewed motion by Defendants

   for sanctions, explaining that “[c]onsolidation will also allow sufficient time for the



                                                  3
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 4 of 12



   Defendants to renew their request for sanctions regarding the previously withheld

   materials.” 11/21/13 Order at 1. Based on the volume and content of Plaintiff’s

   misappropriation, as well as her evasive responses about why she has the materials

   and what she has done with them, Defendants hereby accept the Court’s invitation to

   renew their sanctions motion.

           4.      When Defendants previously moved for sanctions, they did so based on

   the incorrect belief that Plaintiff retained only a handful of documents belonging to

   Defendants. Even then, Plaintiff retaliated by filing frivolous motions for sanctions

   (including one that accused successor counsel of prolonging this case by withdrawing

   one of the potential affirmative defenses). All of Plaintiff’s sanctions motions were

   summarily denied, though they put Defendants through the burden of multiple rounds of

   motion practice and burdened the Court and Defendants with a hearing.

   Documents Withheld in Discovery Undermine Plaintiff’s Claims and Reveal Her
   Plan to Blackmail Defendants’ Executives

           5.      In the prior sanctions motion, Defendants believed some stolen

   documents with confidential information remained in Plaintiff’s possession because a

   couple of them had been used at a deposition, even though she did not produce them in

   response to written demands for the return of all company property and despite

   document requests calling for their production.1

           6.      The belated production of stolen material was accompanied by various old

   emails that Plaintiff printed out, dated years ago, and stockpiled along with the stolen

   confidential information.



   1
     When using these documents, Plaintiff’s counsel also had refused to enter into a confidentiality
   agreement to protect them.

                                                       4
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 5 of 12



          7.        Plaintiff did not produce these emails during discovery, or prior to the

   completion of summary judgment proceedings, in the first-filed Fair Labor Standards Act

   case that is now consolidated with her companion case claiming a wrongful termination

   of her at-will employment.

          8.        In one such email that she withheld, Plaintiff confirmed in writing material

   information that undermines her arguments that she exercised no discretion and was

   micromanaged. In an email dated August 23, 2008, Plaintiff wrote to the Chief Medical

   Officer’s wife stating that she

          reads everything that passes my eyes to make sure [the CMO] knows
          things that effect [sic] him and give him the heads up on business things
          because he is too busy working shifts to hold the company together
          …[and] the CEO’s of hospitals and healthcare entities like Iasis, managers
          of departments in the hospital that have been given my name as someone
          who can get anything done….medical directors, managers all throughout
          EDCare and CFS,, etc. call me DIRECTLY…not just because I am David’s
          assistant..often when it is about something that doesn’t involve David and
          they can’t understand why they call me???? They call me because I am
          reliable…dependable..INTELLIGENT…a person who will take care of
          whatever needs to be taken care of professionally and without being
          micromanaged.

   A copy of this email is attached hereto as Exhibit A (emphasis added). By withholding

   this email among her stolen confidential business records during discovery in the FLSA

   case, Plaintiff avoided questioning on an admission that goes to the heart of her theory

   that she is not the typical exempt Executive Assistant, under the administrative

   exemption, because she was micromanaged. Her choice not to search for and produce

   such records before the extensive summary judgment briefing has substantially

   prejudiced Defendants in connection with their right to avoid the FLSA claims as a

   matter of law.




                                                   5
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 6 of 12



          9.       Plaintiff admitted in writing that she worked “without being micromanaged.”

   It is fundamentally unfair, and a fruit of her criminal theft and concealment of information

   from Defendants, that she deprived Defendants of the ability to use these materials on

   their summary judgment motion against the FLSA claims.

          10.      Why did Plaintiff stockpile three boxes, two thumb drives, and a disc of

   stolen material from Defendants? At her deposition, she was too evasive for

   Defendants to elicit a credible answer. Another email that she had concealed in

   discovery during the FLSA case sheds some potential light on the answer. In an email

   that she printed out on December 2, 2008, as dated on the bottom of the page, Plaintiff

   stated:

          …The liars and thieves of edc[are] profit while I stand by looking stupid. It
          wouldn’t be very smart of them to piss me off because I have enough to
          put more than a few of their precious executive staff in prison or at the
          very least ruin their careers and cause them great financial pain… Sad I
          would have to blackmail to get what I want but if you swim with sharks
          maybe you have to be one.

   A copy of this email is attached hereto as Exhibit B.

   Plaintiff’s Deposition

          11.      A copy of the transcript for Plaintiff’s recent deposition is attached hereto

   as Exhibit C.

          12.      Amazingly, at her deposition, Plaintiff acknowledged that she still has not

   even searched her other emails for documents responsive to Defendants’ discovery

   requests. Tr. at 49-50. Plaintiff also acknowledged spoliation, among other things

   believing (but unsure) she got rid of a computer that stored her information while this

   action was pending, by selling it at a yard sale or leaving it outside to be picked up by




                                                  6
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 7 of 12



   someone. Id. at 47-48. So much for the “diligent” search for materials that this Court

   ordered her to conduct.

          13.    Throughout her recent deposition, Plaintiff remained evasive and claimed

   a lack of recollection. She could not provide a legitimate explanation of why she

   misappropriated three boxes, two thumb drives, and a disc of highly confidential

   company material. Repeatedly she denied having a business reason for taking those

   documents, often stating “I don’t know” of any reason, or “I don’t recall.” 1/13/14 Tr. at

   113-122.

          14.    At her deposition, Plaintiff denied any legitimate basis for threatening or

   blackmailing anyone who worked for Defendants, notwithstanding the threats in her

   emails. One part of the exchange included the following:

          Q.     There’s no such thing as a good faith reason to blackmail someone, right?

          A.     Not that I know of.

          Q.     People aren’t supposed to go around blackmailing each other, right?

          A.     Correct.

          Q.      They are not supposed to stockpile a bunch of information to, how did you
          put it, put the precious executive staff in prison or at the very least ruin their
          careers. There’s no good faith reason to do that, is there.

          MS. DAVIS: Objection to form.

          THE WITNESS: Not that I recall.

                 *      *      *       *

                 Q.     Why did you write to David Schillinger’s wife while you were
          stockpiling those things at home?

          MS. DAVIS: Objection to form.

          THE WITNESS:         I don’t know.

   Tr. at 121-22.

                                                7
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 8 of 12



   Legal Standards

          15.    There could not be a more classic situation that cries out for an evidentiary

   hearing to determine the facts and, if bad faith were found, the appropriate remedy

   including dismissal. See Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230, 1251

   (11th Cir. 2007) (requiring remand where initially the trial court based more than

   $400,000 in sanctions against Plaintiff’s counsel’s firm, the Amlong firm, in part on

   different fact findings than those made by a magistrate judge, but explaining that the

   “the district court need not conduct a new hearing” and could either “accept the

   magistrate judge's basic findings of fact and then reach its own determination as to

   whether the lawyers’ conduct was objectively unreasonable and vexatious” or it could

   “conduct its own hearing as a prelude to making a new determination” of appropriate

   sanctions); see also Norelus v. Denny’s, Inc., 628 F.3d 1270 (11th Cir. 2010) (affirming

   more than $387,000 in sanctions after Amlong hearing conducted on remand); Peer v.

   Lewis, 606 F.3d 1306, 1316 (11th Cir. 2010) (explaining how “inherent power extends to

   a full range of litigation abuses”); Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc.,

   561 F.3d 1298, 1301, 1305-06 (11th Cir. 2009) (approving use of inherent powers to

   sanction a party with a default for “secretly monitoring” an adversary’s “confidential

   communications”); McDowell v. Seaboard Farms of Athens, Inc., No. 95-609-CIV-ORL-

   19, 1996 WL 684140, at *2 (M.D. Fla. Nov. 4, 1996) (inherent power includes “the

   sanction of dismissal in response to abusive litigation practices”); Herrera v. Clipper

   Group, L.P., No. 97–CIV–560 (SAS), 97–CIV–561 (SAS), 1998 WL 229499, at *2

   (S.D.N.Y. May 6, 1998) (“[t]he discovery process is not meant to be supplemented by

   the unlawful conversion of an adversary’s proprietary information”); Glynn v. EDO Corp.,



                                                8
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 9 of 12



   Civil No. JFM–07–01660, 2010 WL 3294347, at *5 (D. Md. Aug. 20, 2010) (imposing

   sanctions because it is inappropriate to “surreptitiously acquire” internal company

   “documents outside of the normal discovery channels”); Ashman v. Solectron Corp., No.

   C 08-1430 JF (HRL), 2008 WL 5071101, at *2 (N.D. Cal. Dec. 1, 2008) (outlining

   various sanctions utilized by courts to remedy self-help discovery); Jackson v. Microsoft

   Corp., 211 F.R.D. 423, 435 (W.D. Wash. 2002) (dismissing suit as sanction for

   misconduct including theft of company documents), aff’d, 78 F. App’x 588 (9th Cir.

   2003); Herrera, 1998 WL 229499, at *1-2 (holding theft of employer’s confidential files

   “demonstrates contempt” and warrants sanctions); Furnish v. Merlo, Civ. No. 93–1052–

   AS, 1994 WL 574137, at *11 (D. Or. Aug. 29, 1994) (ordering supplemental filings to

   determine appropriate remedy as sanction for improper copying and removal of

   confidential company documents); Lipin v. Bender, 597 N.Y.S.2d 340, 340 (N.Y. App.

   Div. 1993) (affirming dismissal of complaint “as a sanction for plaintiff’s improperly

   obtaining and using confidential documents”), aff’d, 644 N.E.2d 1300 (N.Y. 1994).

          16.    Here, the record reflects that Plaintiff stockpiled voluminous confidential

   business records, ranging from client lists to financial statements to employment

   agreements to emails from various mailboxes. She failed to return them when

   demanded upon her termination. She failed to produce them in response to discovery

   requests for them. She failed to produce them during summary judgment proceedings

   in the FLSA action. Her counsel suggested there were a handful. Then her counsel

   suggested there was a box. Then they produced three boxes, two thumb drives, and a

   disc of stolen materials with no legitimate explanation at the time and no legitimate

   explanation at Plaintiff’s subsequent deposition. Plaintiff even had to admit under oath



                                                9
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 10 of 12



   her ongoing failure to search her personal emails for documents responsive to long-

   overdue requests. Even some of what she produced belatedly unduly prejudiced

   Defendants because they would have benefitted from the materials at the summary

   judgment stage. Yet neither Plaintiff nor her counsel has performed such a search to

   this day. Neither of them has supplemented their production since her deposition based

   on such a search.

          17.    It appears that Plaintiff thinks she knows how to “game” a litigation. As

   would be demonstrated at a sanctions hearing, other documents reflect her efforts,

   during an earlier personal injury action, to manipulate Defendants’ response to a

   subpoena when she still worked for EDCare.

          18.    As part of “gaming” this Court and this case, Plaintiff seems to think that

   saying “I don’t know” at a deposition gets her a free ride that limits the ability to impeach

   her at a jury trial. Before she ever enjoys such a trial, however, this Court should

   conduct an Amlong evidentiary hearing to determine whether dismissal or some other

   sanctions would be most appropriate. See Amlong, P.A., 500 F.3d at 1251. At that

   hearing, repeating a mantra of “I don’t know” or other evasive responses might not

   enable her to game this Court or this case as much as she seems to think it can.

                                           Conclusion

          WHEREFORE, Defendants respectfully request that the Court allow this motion

   for an evidentiary hearing on their renewed sanctions motion.




                                                10
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 11 of 12



                              VERIFICATION OF COUNSEL

          I, Barry S. Pollack, state that I have read the foregoing Motion and that the
   contents therein are true and correct to the best of my knowledge. I have read the
   foregoing and declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct.

         Executed on this 14th day of February 2014.


                                   s/ Barry S. Pollack
                                   Barry S. Pollack

         RESPECTFULLY SUBMITTED this 14th day of February, 2014.

                                          By:    /s/ Rene Gonzalez-LLorens
                                          SHUTTS & BOWEN LLP
                                          Joseph M. Goldstein, Esq.
                                          Florida Bar No.: 820880
                                          Email: JGoldstein@shutts.com
                                          Rene Gonzalez-LLorens
                                          Florida Bar No. 53790
                                          Email: rllorens@shutts.com
                                          Fort Lauderdale, Florida 33301
                                          Telephone: (954) 847-3803
                                          Facsimile: (954) 527-7914

                                          POLLACK SOLOMON DUFFY LLP
                                                Barry S. Pollack (appearing pro hac
                                          vice)
                                                133 Federal Street
                                                Boston, Massachusetts 02110
                                                (617) 439-9800 (telephone)
                                                (617) 960-0490 (facsimile)
                                                bpollack@psdfirm.com (email)

                                          ATTORNEYS FOR DEFENDANTS EDCARE
                                          MANAGEMENT, INC. and HOSPITAL
                                          PHYSICIAN PARTNERS, INC.




                                            11
Case 0:12-cv-61984-RNS Document 122 Entered on FLSD Docket 02/14/2014 Page 12 of 12



                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed
   electronically with the Court via CM/ECF with copies automatically served via email on
   William R. Amlong, Esq. and Jennifer Daley, Esq., Amlong & Amlong, P.A., 500
   Northeast Fourth Street, Second Floor, Fort Lauderdale, Florida, 33301-1154 this 14th
   day of February 2014.

                                                 /s/ Rene Gonzalez-LLorens
                                                 OF COUNSEL



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